    Case 4:23-cr-00018-ALM-KPJ Document 49 Filed 06/15/23 Page 1 of 1 PageID #: 312




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

      UNITED STATES OF AMERICA,                   §
                                                  §
                                                  §
      v.                                          §          Case No. 4:23-CR-018 ALM/KPJ
                                                  §
      ALI DANIAL HEMANI                           §
                                                  §


                                               ORDER

            Having considered Defendant’s Motion for Leave to File an attached Notice (Dkt. 48),

     the motion is hereby GRANTED. The Court will consider the Notice (Dkt. 48) in deciding
.    Defendant’s Motion to Dismiss Indictment (Dkt. 12).

            IT IS ORDERED that the Notice attached as Exhibit A to the Motion for Leave to File

     (Dkt. 48) is deemed filed.



               So ORDERED and SIGNED this 15th day of June, 2023.




                                                  ____________________________________
                                                  KIMBERLY C. PRIEST JOHNSON
                                                  UNITED STATES MAGISTRATE JUDGE
